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                                 United States District Court
                                    District of Minnesota

  United States Of America,

                 Plaintiff,

  v.                                                         Case No. 21-cr-173-1-WMW-DTS


  Anton Joseph Lazzaro,

                 Defendant.


        Defendant’s Unopposed Motion To Extend Disclosure Deadline


       Defendant Anton Lazzaro (“Mr. Lazzaro”) submits this Defendant’s Unopposed

Motion To Extend Disclosure Deadline for the Court’s consideration. Mr. Lazzaro’s

current deadline is September 7, 2021, to provide defense disclosures required by Fed.

R. Crim. P. 16(b). (Arraignment Order, ECF No. 34 at 2). Mr. Lazzaro is seeking a 30-

day extension of time until to provide any disclosures required under Fed. R. Crim.

P. 16(b) October 7, 2021. The Government is not opposed to this requested

continuance.

       Following a contested hearing, Mr. Lazzaro was ordered detained in this

matter pending trial on August 24, 2021. (See Order for Detention, ECF No. 28). The

court provided the parties with certain deadlines, including Rule 16 disclosures,

orally and later detailed by written order. (ECF No. 34).

       The Government’s Rule 16 disclosures were due no later than August 31, 2021.

Mr. Lazzaro has not received any discovery to date as a result of the parties working



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diligently towards a mutually agreeable protective order in this matter. The

Government has indicated that certain items will be made available for in-person

inspection by defense counsel. However, without the benefit of any discovery

(including disclosures from the Government) Mr. Lazzaro is unable to comply with

the Court’s order regarding defense disclosures under Rule 16 at this time.

       Further, Mr. Lazzaro’s co-defendant,                                , was also indicted on

many of the same charges in this case. (See Indictment). Upon information and belief,

this person is currently in the custody of the Government. Upon information and

belief, this person is still in the process of being transported from the judicial district

where she was apprehended to this district for her initial detention hearing. These

matters will likely be tried together to a jury and the Court should set simultaneous

deadlines for both defendants to preserve judicial resources.2

       The requested 30-day extension of time will not unduly delay these

proceedings. Mr. Lazzaro asks that the Court extend his deadline to provide Rule 16

disclosures until October 7, 2021, for good cause shown.



                       [Remainder of Page Left Blank Intentionally]




1
 The name of Mr. Lazzaro’s co-defendant is redacted here out of an abundance of caution. The
Government has filed a motion to unseal the indictment for both defendants but that motion
appears to still be pending at this time.

2
  Although a motion for continuance of all other pre-trial deadlines is forthcoming, Mr. Lazzaro
is filing this separate motion to extend due to the current deadline today for Rule 16 disclosures.


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                                              Respectfully submitted,


                                              /s/ Zachary L. Newland
                                              Zachary Lee Newland
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                                              Lead Counsel for Anton Lazzaro



                           CERTIFICATE OF CONFERENCE

       I hereby certify that prior to filing this motion I conferred with Assistant U.S.

Attorneys Angela Munoz and Laura Provinzino via electronic mail on September 7,

2021. I was informed that the Government is unopposed to the extension of time

sought by Mr. Lazzaro.


                                              /s/ Zachary L. Newland
                                              Zachary L. Newland


                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was duly filed and

served upon counsel of record, via the Court’s CM/ECF system, this 7th day of

September 2021.

                                              /s/ Zachary L. Newland
                                              Zachary L. Newland



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